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          EXHIBIT A
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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

PATRICIA MCNULTY,                            :       CIVIL ACTION NO: 19-5029 (AB)
               Plaintiff,                    :
     -vs-                                    :
                                             :
THE MIDDLE EAST FORUM,                       :
DANIEL PIPES (individually),                 :       TRIAL BY JURY
GREGG ROMAN (individually), and              :
MATTHEW BENNETT (individually),              :
                   Defendants.               :
___________________________________


PATRICIA MCNULTY,                            :       CIVIL ACTION NO: 20-2945 (AB)
               Plaintiff,                    :
     -vs-                                    :
                                             :
THE MIDDLE EAST FORUM,                       :
GREGG ROMAN (individually), and              :
                Defendants.                  :       CONSOLIDATED ACTIONS


            DEFENDANT, GREGG ROMAN’S REQUESTS FOR ADMISSION
                         DIRECTED TO PLAINTIFF

       Defendant, Gregg Roman (“Defendant Roman”), by and through his undersigned

counsel, Sidney L. Gold & Associates, P.C., hereby requests that Plaintiff admit the truthfulness

of the following statements in accordance with the Federal Rules of Civil Procedure within thirty

(30) days of service.

                                       INSTRUCTIONS

       1.      Each request is to be separately responded to, and Plaintiff is to indicate which

request or requests documents are being produced in response thereto.

       2.      Each request shall be continuous so as to require additional answers in further

information is to be obtained between the time an answer is served and the time of trial. Such

additional answers shall be served in conformity with the Federal Rules of Civil Procedure.


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       3.      If you do not answer any request for admission because of the claim of privilege,

set forth the privilege claim, and the facts upon which you rely in support of the claim of

privilege and identify all documents for which said privilege is claimed.

       4.      As used herein, the term “Defendant Roman” shall mean Gregg Roman.

       5.      As used herein, the term “Defendant MEF” shall mean The Middle East Forum

and its agents, servants and employees.

       6.      As used herein, the term “Defendant Bennett” shall mean Matthew Bennett.

       5.      As used herein, the term “Plaintiff” shall mean Patricia McNulty.




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                                REQUESTS FOR ADMISSION

        1.     Admit that Plaintiff commenced employment with Defendant on October 23,

2017.

        2.     Admit that Plaintiff was hired to the position of Program Manager.

        3.     Admit that in her capacity as Program Manager, Plaintiff was responsible for

planning events for Defendant MEF.

        4.     Admit that Plaintiff was promoted to Director of Development in or about March

of 2019.

        5.     Admit that Plaintiff and Lisa Barbounis maintain a close friendship through the

present.

        6.     Admit that Plaintiff went on a trip to Atlantic City with Lisa Barbounis, Marnie

Meyer, and Caitriona Brady in or about August of 2019.

        7.     Admit that Plaintiff discussed with Lisa Barbounis, Marnie Meyer, and Caitriona

Brady the possibility of each of them leaving their respective employment with Defendant MEF

during the trip to Atlantic City in or about August of 2019.

        8.     Admit that Plaintiff was aware that Lisa Barbounis had more than one cell phone

during her tenure of employment with Defendant MEF.

        9.     Admit that Plaintiff communicated with Lisa Barbounis through the Telegram app

during her tenure of employment with Defendant MEF.

        10.    Admit that Plaintiff communicated with Lisa Barbounis through the WhatsApp

app during her tenure of employment with Defendant MEF.

        11.    Admit that Plaintiff signed a Non-Disclosure Agreement on October 23, 2017.




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       12.     Admit that under the terms of the Non-Disclosure Agreement, Plaintiff has an

obligation not to disclose confidential information belonging to Defendant MEF.

       13.     Admit that under the terms of the Non-Disclosure Agreement, Plaintiff’s

obligation not to disclose confidential information continued after her resignation from

Defendant MEF.

       14.     Admit that Plaintiff signed the “Bring Your Own Device Agreement” with

Defendant MEF.

       15.     Admit that under the “Bring Your Own Device Agreement” Plaintiff promised no

other person other than Plaintiff would have access to MEF data.

       16.     Admit that under the “Bring Your Own Device Agreement” Plaintiff agreed that

any Defendant MEF data contained on her electronic device may be subject to legal discovery.

       17.     Admit that under the “Bring Your Own Device Agreement” Plaintiff agreed that

Defendant MEF was entitled to access the said data.

       18.     Admit that the “Bring Your Own Device Agreement” applied to Plaintiff’s Gmail

account.

       19.     Admit that the Non-Disclosure Agreement applied to Plaintiff’s Gmail account.

       20.     Admit that donor information, donor contributions, addresses, and/or contact

information for Defendant MEF’s donors is confidential information belonging to Defendant

MEF.

       21.     Admit that Plaintiff has not erased the contents of her Apple laptop following her

resignation from Defendant MEF in or about September of 2019.

       22.     Admit that Plaintiff currently has access to the Gmail account she used while

employed by Defendant MEF.



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         23.   Admit that Defendant MEF directed employees to no longer utilize personal email

accounts in or about February of 2019.

         24.   Admit that Plaintiff continued to utilize her personal Gmail account after

February of 2019.

         25.   Admit that Plaintiff did not return confidential information belonging to

Defendant MEF that was stored on her Apple laptop following her resignation in or about

September of 2019.

         26.   Admit that Plaintiff has in her possession confidential information of Defendant

MEF on her Apple laptop as of the present.

         27.   Admit that Plaintiff received Defendant MEF’s Personnel Manual and signed an

acknowledgment form confirming receipt.

         28.   Admit that under Defendant MEF’s Personnel Manual, Plaintiff agreed that: “If

you believe that you are the victim of impermissible harassment, or become aware of another

employee being subjected to impermissible harassment, you must promptly report the facts of the

incident to your supervisor or to the Director or to the Managing Director.”

         29.   Admit that Plaintiff attended the AIPAC convention in Washington D.C. as a

representative of Defendant MEF in or about March of 2018.

         30.   Admit that on March 4, 2018 Plaintiff attended Defendant MEF’s event at Cuba

Libre.

         31.   Admit that Plaintiff consumed alcohol on the evening of March 4, 2018.

         32.   Admit that as of March 4, 2018, Plaintiff had knowledge that Lisa Barbounis

previously lived in Washington D.C.




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       33.    Admit that Plaintiff took several Uber rides during the course of the AIPAC

convention weekend.

       34.    Admit that Defendant MEF’s reimbursed Plaintiff for Uber expenses during

Defendant MEF- related work trips.

       35.    Admit that Defendant MEF reimbursed Plaintiff for Uber expenses incurred

during the AIPAC convention in or about March of 2018.

       36.    Admit that Plaintiff went to the Airbnb in Washington D.C. on March 5, 2018.

       37.    Admit that Plaintiff slept at the Airbnb in Washington D.C. on March 5, 2018.

       38.    Admit that the incident at the AIPAC convention was the first instance of any

alleged sexual harassment from Defendant Roman to which Plaintiff was subjected during her

tenure of employment.

       39.    Admit that Plaintiff did not witness any alleged acts of sexual harassment of any

MEF employee prior to March 5, 2018.

       40.     Admit that Plaintiff did not report the alleged incident that occurred on March 5,

2018 to Daniel Pipes until November 1, 2018.

       41.    Admit that Plaintiff was not subjected to any alleged sexual harassment from

March 6, 2018 through November 1, 2018.

       42.    Admit that Lisa Barbounis sent Plaintiff a text message on March 14, 2018

wherein Lisa Barbounis stated: “I’m paranoid so delete this.”

       43.    Admit that Plaintiff took screenshots of her text message communications with

Lisa Barbounis on March 14, 2018.




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       44.       Admit that on March 14, 2018 Plaintiff sent a text message to Lisa Barbounis

wherein Plaintiff stated: “Oh gosh, so it got like aipac couch-ish” and wherein Lisa Barbounis

replied: “No.”

       45.       Admit that Lisa Barbounis sent a text message to Plaintiff on March 14, 2018

wherein Lisa Barbounis stated: “He said he fucked Lea and tried to meet up with her again and it

didn’t work out. He said he wanted another good blow job and then other weird shit.”

       46.       Admit that Plaintiff and Lisa Barbounis only communicated via text message on

March 14, 2018.

       47.       Admit that Plaintiff initially informed Dr. Barbara Ziv that Plaintiff and Lisa

Barbounis only communicated via text message on March 14, 2018.

       48.       Admit that Plaintiff did not report the content of aforesaid text messages she

received from Lisa Barbounis on March 14, 2018 to Daniel Pipes until November 1, 2018.

       49.       Admit that Plaintiff did not report to Daniel Pipes that she suspected Defendant

Roman had subjected Lisa Barbounis to sexual harassment during the Israel trip in or about

March of 2018 until November 1, 2018.

       50.       Admit that in Plaintiff’s email dated November 1, 2018 to Daniel Pipes, Plaintiff

did not report any instances of alleged sexual harassment that occurred prior to March 5, 2018.

       51.       Admit that in Plaintiff’s email dated November 1, 2018 to Daniel Pipes, Plaintiff

did not report any acts of alleged sexual harassment to which she was subjected that occurred

between March 6, 2018 through November 1, 2018.

       52.       Admit that Daniel Pipes and/or Defendant MEF promptly investigated the

allegations made by Plaintiff on November 1, 2018.




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        53.       Admit that Daniel Pipes and/or Defendant MEF promptly took remedial action

following Plaintiff’s disclosure of the alleged AIPAC incident on November 1, 2018.

        54.       Admit that on November 4, 2018 Plaintiff sent an email to Daniel Pipes wherein

Plaintiff stated: “I do promise that any future incidents, should they happen, will be reported to

you immediately.”

        55.       Admit that on November 4, 2018, Plaintiff sent an email to Daniel Pipes wherein

Plaintiff stated: “I want nothing more than to move on and continue working hard for MEF.”

        56.       Admit that on November 4, 2018, Plaintiff sent an email to Daniel Pipes wherein

expressed to Daniel Pipes that she was satisfied with changes proposed by Daniel Pipes in

response to Plaintiff’s email dated November 1, 2018.

        57.       Admit that on November 4, 2018, Plaintiff sent an email to Daniel Pipes wherein

Plaintiff expressed to Daniel Pipes that she “considered this matter satisfactorily resolved.”

        58.       Admit that Plaintiff sent an email to Daniel Pipes on March 11, 2019 wherein

Plaintiff stated: “There has been a noticeable difference in the working relationship with

[Defendant Roman] in the past four months and the understanding moving forward is that this

will continue.”

        59.       Admit that Plaintiff agreed with Lisa Barbounis’ request for Defendant Roman to

return to the office.

        60.       Admit that Plaintiff agreed with Daniel Pipes and/or Defendant MEF’s decision to

permit Defendant Roman to return to the office.

        61.       Admit that Plaintiff did not report to Daniel Pipes that Plaintiff witnessed

Defendant Roman subject Lisa Barbounis to any alleged instances of sexual harassment from

March of 2019 through September of 2019.



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       62.      Admit that on May 10, 2019 Plaintiff received an email from Daniel Pipes

wherein Daniel Pipes stated: “Most importantly, I’d like to point out that since November you –

and everyone else in the office – reports to me [Daniel Pipes].”

       63.      Admit that on May 10, 2019 Plaintiff received an email from Daniel Pipes

wherein Daniel Pipes stated: “[Defendant Roman] has no authority over you and cannot force

you out of the Forum.”

       64.      Admit that on June 11, 2019 Plaintiff sent an email to Daniel Pipes wherein

Plaintiff stated: “There have been no new instances of sexual harassment since November when

Gregg was removed from the office, but I was referring to the ongoing psychological harassment

we discussed following his phone calls with Matt.”

       65.      Admit that Daniel Pipes promptly investigated the allegations set forth in

Plaintiff’s emails dated May 10, 2019 and June 11, 2019.

       66.      Admit that Daniel Pipes promptly took remedial action following Plaintiff’s

emails dated May 10, 2019 and June 11, 2019 regarding Defendant Roman’s alleged behavior.

       67.      Admit that Plaintiff did not inform and/or disclose to Daniel Pipes that Defendant

Bennett deleted text messages from Plaintiff’s phone and/or instructed Plaintiff to delete text

messages from her phone.

       68.      Admit that Plaintiff did not report any alleged sexual harassment from Defendant

Bennett until Plaintiff submitted her resignation letter on September 13, 2019.

       69.      Admit that Plaintiff’s resignation letter dated September 13, 2019 was the first

instance she disclosed and/or reported any alleged sexual harassment from Defendant Bennett to

Daniel Pipes.




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        70.   Admit that Plaintiff did not express any opposition to Daniel Pipes regarding

Defendant Bennett serving as her supervisor beginning in or about November of 2018.

        71.   Admit that Plaintiff sent a text message to Defendant Bennett wherein Plaintiff

stated: “you’re honestly the greatest boss I’ve ever worked for, and you being proud of my work

means the world.”

        72.   Admit that Plaintiff sent a text message to Defendant Bennett wherein Plaintiff

stated: “I hope you don’t go. If a time comes when you do, just remember your promise.”

        73.   Admit that Plaintiff did not register any complaints regarding any alleged pay

disparity and/or unequal pay during her tenure of employment with Defendant MEF.

        74.   Admit that the first time Plaintiff raised any alleged pay disparity and/or unequal

pay between Plaintiff and Defendant Bennett was in her resignation letter dated September 13,

2019.

        75.   Admit that Plaintiff began looking for employment outside of Defendant MEF in

or about May of 2019.

        76.   Admit that Plaintiff asked Matthew Bennett for assistance in securing

employment at the Zionist Organization of America (“ZOA”).

        77.   Admit that Plaintiff accepted an offer of employment from her current employer

Russell Reynolds Associates prior to submitting her resignation.

        78.   Admit that at the time of her resignation, Plaintiff earned $64,000 per annum with

Defendant MEF.

        79.   Admit that Plaintiff currently earns $85,000 per annum at her employment with

Russell Reynolds Associates.




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          80.   Admit that Plaintiff is not seeking damages for wage loss and/or backpay in this

matter.

          81.   Admit that Plaintiff is not seeking damages for front pay in this matter.



                                                      SIDNEY L. GOLD & ASSOC., P.C.


                                              By:     /s/ Sidney Gold, Esquire
                                                      SIDNEY L. GOLD, ESQUIRE
                                                      1835 Market Street, Suite 515
                                                      Philadelphia, PA 19103
                                                      (215) 569-1999
Dated: 01/27/2021                                     Attorneys for Defendant, Gregg Roman




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                                CERTIFICATE OF SERVICE


       I hereby certify that on this date I caused a true and correct copy of Defendant Gregg

Roman’s Requests for Admission Addressed to Plaintiff to be served via e-mail and/or

regular mail upon all counsel of record:



                                  Seth D. Carson, Esquire
                             DEREK SMITH LAW GROUP PLLC
                               1835 Market Street, Suite 2950
                                  Philadelphia, PA 19103
                                   Attorney for Plaintiff


                                     David Walton, Esquire
                                    COZEN & O’CONNOR
                                      1650 Market Street
                                          Suite 2800
                                    Philadelphia, PA 19103




                                                    SIDNEY L. GOLD & ASSOC., P.C.


                                            By:     /s/ Sidney Gold, Esquire
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Dated: 01/27/2021                                   Attorneys for Defendant, Gregg Roman




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